 3:21-bk-71598 Doc#: 12 Filed: 11/26/21 Entered: 11/26/21 18:47:00 Page 1 of 2




                      UNITED STATES BANKRUPTCY COURT
                       WESTERN DISTRICT OF ARKANSAS
                             HARRISON DIVISION

In re: Billy Scallorn                                           Case No.: 3:21-bk-71598
Debtor                                                                       Chapter 13

                    MOTION TO EXTEND THE DEADLINE TO
                    FILE CHAPTER 13 SCHEDULES AND PLAN

     COMES NOW Billy Scallorn, ("Debtor") by and through his attorney, Matthew
D. Mentgen, and for his Motion to Extend the Deadline to File Chapter 13 Schedules and
Plan, states:
   1. That this pending Chapter 13 case was filed on November 11, 2021 with deficient
       schedules and plan due on November 26, 2021.
   2. That Debtor needs an extension of time to ascertain the extent of his debts so that
       he may propose a reasonable settlement to his creditors.
   3. That Debtor needs an extension of time to ascertain the extent of his income so
       that he may propose a reasonable settlement to his creditors.
       WHEREFORE, Debtors prays that this Court grant his motion and allow him an
additional fourteen (14) days to file his deficient schedules and plan.

                                                  Respectfully submitted,


                                                  /s/ Matthew D Mentgen
                                                  Matthew D. Mentgen 2008096
                                                  Attorney for Debtor
                                                  PO Box 164439
                                                  Little Rock, AR 72216
                                                  (501) 392-5662
 3:21-bk-71598 Doc#: 12 Filed: 11/26/21 Entered: 11/26/21 18:47:00 Page 2 of 2




                            CERTIFICATE OF SERVICE

       I, Matthew D. Mentgen, do hereby certify that a copy of the foregoing was
delivered to Joyce B. Babin, Chapter 13 Trustee by electronic transmission, today,
November 26, 2021.

/s/ Matthew D. Mentgen
Matthew D. Mentgen
Attorney for Debtor
Ark Bar# 2008096
PO Box 164439
Little Rock, AR 72216
(501) 392-5662
